Matthew J. Gold
Dov Kleiner
KLEINBERG, KAPLAN, WOLFF & COHEN, P.C.
500 Fifth Avenue
New York, New York 10110
(212) 986-6000
Counsel to Harrison Schoenau

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                       )
In re:                                                                 )     Chapter 11
                                                                       )
CELSIUS NETWORK LLC, et al.,                                           )     Case No. 22-10964 (MG)
                                                                       )
                                            Debtors1.                  )     (Jointly Administered)
                                                                       )

                           NOTICE OF APPEARANCE AND
                    REQUEST FOR NOTICES AND SERVICE OF PAPERS


        PLEASE TAKE NOTICE that KLEINBERG, KAPLAN, WOLFF & COHEN, P.C.
hereby appears as counsel for Harrison Schoenau in the above-captioned cases. Pursuant to
Rules 2002, 7005, 9007, and 9010(b) of the Federal Rules of Bankruptcy Procedure and Section
1109(b) of the United States Bankruptcy Code, by and through his counsel, Harrison Schoenau
requests that all notices given or required to be given in connection with the above-captioned
cases, and all papers served or required to be served in connection therewith, be given and
served upon:

                                                      Matthew J. Gold
                                                      Dov R. Kleiner
                                                      Kleinberg, Kaplan,
                                                      Wolff & Cohen, P.C.
                                                      500 Fifth Avenue
                                                      New York, New York 10110
                                                      Tel. (212) 986-6000

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 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius
Mining LLC (1387); Celsius Network Inc. (1219); Celsius Network Limited (8554); Celsius Networks Lending LLC
(3390); Celsius US Holding LLC (7956); GK8 USA LLC (9450); GK8 Ltd. (1209); and GK8 UK Limited (0893).
The location of Debtor Celsius Network LLC’s principal place of business and the Debtors’ service address in these
chapter 11 cases is 50 Harrison Street, Suite 209F, Hoboken, New Jersey 07030.
                                                Fax. (212) 986-8866
                                                mgold@kkwc.com
                                                dkleiner@kkwc.com

        PLEASE TAKE FURTHER NOTICE that the foregoing request includes, without
limitation, any and all notices in respect of any application, motion, petition, pleading, request,
complaint, demand, order or any other paper filed in the within the above-captioned cases
whether such notice is formal or informal, written or oral, and whether transmitted by hand
delivery, United States Mail, electronic mail, expedited delivery service, telephone, facsimile,
or otherwise.


         This notice of appearance and request for notice and service of papers is not, and may
not be deemed or construed to be, a waiver of any of Harrison Schoenau’s substantive or
procedural rights, including without limitation: (i) Harrison Schoenau’s right to have final
orders in non-core matters entered only after de novo review by a District Court; (ii) Harrison
Schoenau’s right to trial by jury in any proceeding so triable herein or in any case, controversy,
or proceeding related hereto; (iii) Harrison Schoenau’s right to have the reference withdrawn by
the District Court in any matter subject to mandatory or discretionary withdrawal; (iv) Harrison
Schoenau’s right to have any claims constitutionally required to be determined by the District
Court be determined therein; (v) Harrison Schoenau’s right to have any matter heard by an
arbitrator or other adjudicatory or alternative dispute resolution authority, foreign or domestic;
or (vi) any other rights, claims, actions, defenses, set-offs, or recoupments to which Harrison
Schoenau is or may be entitled in law or in equity under the laws of the United States of
America, any other applicable sovereignty, or any subdivision of any of the foregoing, or under
any agreement, including without limitation any defense of a lack of jurisdiction over the
person, improper venue, or forum non conveniens, all of which Harrison Schoenau expressly
reserves.



New York, New York
Dated: August 4, 2023
                                                /s/ Dov R. Kleiner
                                                KLEINBERG, KAPLAN, WOLFF & COHEN, P.C.
                                                Matthew J. Gold
                                                Dov R. Kleiner
                                                500 Fifth Avenue
                                                New York, New York 10110
                                                (212) 986-6000
                                                dkleiner@kkwc.com
                                                Counsel to Harrison Schoenau




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